                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-349

                                          No. COA20-139

                                      Filed 20 July 2021

     Robeson County, No. 15CRS053022

     STATE OF NORTH CAROLINA

                  v.

     SHANNON NICOLE CHAVIS, Defendant.


           Appeal by defendant from judgments entered on or about 27 February 2019 by

     Judge James G Bell in Superior Court, Robeson County. Heard in the Court of

     Appeals 9 September 2020.


           Attorney General Joshua H. Stein, by Assistant Attorney General Kenzie M.
           Rakes, for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defender Aaron
           Thomas Johnson, for defendant-appellant.


           STROUD, Chief Judge.


¶1         Defendant appeals judgments for her convictions of robbery with a dangerous

     weapon and conspiracy to commit robbery with a dangerous weapon. Defendant

     raises several arguments on appeal but after consideration of each issue, we conclude

     there was no error with these convictions. However, defendant was also found guilty

     of direct criminal contempt; as to the contempt order and judgment, we reverse.

                                     I.     Background
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¶2         The State’s evidence tended to show that in May of 2015 defendant and her

     boyfriend entered Mr. Jones’s home wanting his “gun and pills.” Mr. Jones had

     previously dated defendant’s mother. Defendant’s boyfriend pinned down Mr. Jones,

     and they hit him with a stick. Defendant also tased Mr. Jones “two or three times”

     around the head and neck area. Defendant’s boyfriend took Mr. Jones’s wallet. As a

     result of the attack, Mr. Jones had blood coming out of his ear, a knot on his head,

     and a taser burn. Defendant was indicted for robbery with a dangerous weapon and

     conspiracy to commit robbery with a dangerous weapon. The jury found defendant

     guilty of both charges; the trial court entered judgments, and defendant appeals.

                            II.   Use of Dangerous Weapon

¶3         During her trial defendant moved to dismiss the charges against her without

     giving any specific reason, and the trial court denied the motion. Defendant first

     contends that “[t]he trial court erred by denying” her “motion to dismiss because the

     evidence showed that the taser at issue was not a ‘dangerous weapon[,]’” an essential

     element of both robbery with a dangerous weapon and conspiracy to commit robbery

     with a dangerous weapon. See generally State v. Gwynn, 362 N.C. 334, 337, 661

     S.E.2d 706, 707-08 (2008) (“Under N.C.G.S. § 14–87(a), the essential elements of

     robbery with a dangerous weapon are: (1) an unlawful taking or an attempt to take

     personal property from the person or in the presence of another; (2) by use or

     threatened use of a firearm or other dangerous weapon; (3) whereby the life of a
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     person is endangered or threatened.” (quotation marks and brackets omitted)); see

     also State v. Lyons, 268 N.C. App. 603, ___, 836 S.E.2d 917, 921 (2019), disc. review

     denied, 374 N.C. 744, 842 S.E.2d 592 (2020) (“To ultimately convict a defendant of

     conspiracy, however, the State must prove there was an agreement to perform every

     element of the underlying offense[.]” (quotation marks and brackets omitted)).

     A. Standard of Review

¶4         Though defendant did not state the reason for her motion to dismiss,

     “defendant’s simple act of moving to dismiss at the proper time preserved all issues

     related to the sufficiency of the evidence for appellate review.” State v. Golder, 374

     N.C. 238, 246, 839 S.E.2d 782, 788 (2020).

                          When a defendant moves for dismissal, the
                          trial court is to determine whether there is
                          substantial evidence (a) of each essential
                          element of the offense charged, or of a lesser
                          offense included therein, and (b) of
                          defendant’s being the perpetrator of the
                          offense. If so, the motion to dismiss is properly
                          denied.
                  Substantial evidence is such relevant evidence as a
                  reasonable mind might accept as adequate to support a
                  conclusion. In borderline or close cases, our courts have
                  consistently expressed a preference for submitting issues to
                  the jury, both in reliance on the common sense and fairness
                  of the twelve and to avoid unnecessary appeals.

     State v. Rivera, 216 N.C. App. 566, 567-68, 716 S.E.2d 859, 860 (2011) (emphasis

     added) (citations and quotation marks omitted). Furthermore, “[t]his Court reviews
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     the trial court’s denial of a motion to dismiss de novo. Under a de novo review, the

     court considers the matter anew and freely substitutes its own judgment for that of

     the lower tribunal.” State v. Southerland, 266 N.C. App. 217, 219, 832 S.E.2d 168,

     170 (2019) (citation and quotation marks omitted).

     B.    Analysis

¶5         Defendant contends the taser was not a dangerous weapon. In Rivera, an

     assailant used a stun gun on the victim. Rivera, 216 N.C. App. at 567, 716 S.E.2d at

     860. An officer testified during the defendant’s trial that “the overall potential for

     serious physical injury or death from a stun gun is minimal, and the overall potential

     for serious physical injury or death from a stun gun would be consistent with being

     struck with a hand or foot.”    Id. (quotation marks and brackets omitted).       The

     defendant in Rivera moved to dismiss the charge against him, robbery with a

     dangerous weapon. See id. The trial court denied the motion, and the jury found the

     defendant guilty of robbery with a dangerous weapon. Id. The defendant appealed,

     and this Court noted, “The dispositive issue in this case is whether there was

     sufficient evidence presented at trial to establish that the stun gun was a dangerous

     weapon that endangered or threatened [the victim’s] life.” Id. at 568, 716 S.E.2d at

     860-61.

¶6          This Court explained,

                        When deciding whether an object is a dangerous
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                  weapon, our Supreme Court has stated:
                       The rules are: (1) When a robbery is
                       committed with what appeared to the victim
                       to be a firearm or other dangerous weapon
                       capable of endangering or threatening the life
                       of the victim and there is no evidence to the
                       contrary, there is a mandatory presumption
                       that the weapon was as it appeared to the
                       victim to be. (2) If there is some evidence that
                       the implement used was not a firearm or
                       other dangerous weapon which could have
                       threatened or endangered the life of the
                       victim,      the    mandatory       presumption
                       disappears leaving only a permissive
                       inference, which permits but does not require
                       the jury to infer that the instrument used was
                       in fact a firearm or other dangerous weapon
                       whereby the victim’s life was endangered or
                       threatened. (3) If all the evidence shows the
                       instrument could not have been a firearm or
                       other dangerous weapon capable of
                       threatening or endangering the life of the
                       victim, the armed robbery charge should not
                       be submitted to the jury.
                  We must look at the circumstances of use to determine
                  whether an instrument is capable of threatening or
                  endangering life.

     Id. at 568–69, 716 S.E.2d at 861 (citations and quotation marks omitted).

¶7         In Rivera, this Court first determined that a stun gun can be a dangerous

     weapon. Id. at 569-570, 716 S.E.2d at 861-62. Here, we conclude that a taser is “what

     appeared to the victim to be a firearm or other dangerous weapon capable of

     endangering or threatening the life of the victim[.]” Id. at 568, 716 S.E.2d at 861.

     But since there was “some evidence that the implement used was not a firearm or
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     other dangerous weapon which could have threatened or endangered the life of the

     victim, the mandatory presumption disappears leaving only a permissive inference,

     which permits but does not require the jury to infer that the instrument used was in

     fact a firearm or other dangerous weapon whereby the victim’s life was endangered

     or threatened.” Id. at 571, 716 S.E.2d at 862. Further, in this case, the trial court

     instructed the jury it should determine whether a taser was a dangerous weapon, and

     thus we turn to the second rule described in Rivera “which permits but does not

     require the jury to infer that the instrument used was in fact a firearm or other

     dangerous weapon whereby the victim’s life was endangered or threatened.” Id. at

     569, 716 S.E.2d at 861.

¶8         Rivera notes that “our courts have consistently held that an object can be

     considered a dangerous or deadly weapon based on the manner in which it was used

     even if the instrument is not considered dangerous per se and the weapon does not

     cause death or a life threatening injury.” Id. at 571, 716 S.E.2d at 862. In Rivera,

     the victim “suffered significant pain from the shock, fell, and injured her rotator cuff.

     She endured two surgeries and extensive physical therapy. Two years after the

     robbery, Scott was still experiencing pain and a limited range of motion in her left

     arm.” Id. at 570, 716 S.E.2d at 86. In fact, as noted in Rivera, “in State v. Gay, 151

     N.C. App. 530, 566 S.E.2d 121 (2002), a stun gun was deemed as a dangerous weapon

     where the defendant did not actually use the stun feature but instead placed it
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       against the victim’s neck in order to take her backpack. Id. at 570, 716 S.E.2d at 861-

       82.

¶9           Here, the evidence regarding the manner of use of the taser would permit the

       jury to find it was a dangerous weapon. After the attack, Mr. Jones was bleeding

       from his ear, had a knot on his head, and had a taser burn. Defendant argues that

       the bleeding and head injury were caused by her boyfriend “punching Mr. Jones or

       hitting him with the walking stick[,]” but defendant used the taser as Mr. Jones was

       being beaten and held by her boyfriend when he removed Mr. Jones’s wallet from his

       pocket. In other words, defendant incapacitated, with the taser, Mr. Jones while he

       was being beaten, including on his head, to ensure he could not defend himself. The

       jury could conclude the taser was used as a deadly weapon. Accordingly, the trial

       court did not err in denying defendant’s motion to dismiss.         This argument is

       overruled.

                                   III.   Judicial Opinion

¶ 10         Defendant next contends that the trial court violated North Carolina General

       Statutes §§15A-1222 and -1232 by expressing the opinion that a taser was a

       dangerous weapon in its instructions to the jury. Defendant failed to raise this before

       the trial court but citing State v. Johnson, 253 N.C. App. 337, 801 S.E.2d 123 (2017),

       contends because it was a statutory violation it is preserved on appeal without

       objection and reviewable de novo. We agree. See generally id. at 345, 801 S.E.2d at
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       128 (“When a trial court acts contrary to a statutory mandate and a defendant is

       prejudiced thereby, the right to appeal the court’s action is preserved,

       notwithstanding defendant’s failure to object at trial. Defendant alleges a violation

       of a statutory mandate, and alleged statutory errors are questions of law and as such,

       are reviewed de novo.” (citations, quotation marks, and brackets omitted)). We note

       defendant does not challenge the jury instructions or argue plain error for failing to

       object to the instructions but bases this argument on appeal solely on a statutory

       violation, and we address it accordingly.

¶ 11         “An expression of judicial opinion is a statutory violation and a defendant’s

       failure to object to alleged expressions of opinion by the trial court in violation of a

       statute does not preclude his raising the issue on appeal.” State v. Davis, 265 N.C.

       App. 512, 514, 828 S.E.2d 570, 572 (citation, quotation marks, and brackets omitted),

       disc. review denied, 372 N.C. 709, 830 S.E.2d 839 (2019). We review this issue de

       novo. See Johnson at 345, 801 S.E.2d at 128. North Carolina General Statute § 15A-

       1222 provides that “[t]he judge may not express during any stage of the trial, any

       opinion in the presence of the jury or any question of fact to be decided by the jury[,]”

       and North Carolina General Statute §15A-1232 similarly provides, “In instructing

       the jury, the judge shall not express an opinion as to whether or not a fact has been

       proved and shall not be required to state, summarize or recapitulate the evidence, or
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       to explain the application of the law to the evidence.” N.C. Gen. Stat. §§ 15A-1222, -

       1232 (2019).

¶ 12         Specifically, defendant contends the trial court expressed its opinion at least

       twice by instructing,

                       Robbery with a dangerous weapon. The defendant has been
                       charged with robbery with a dangerous weapon, which is
                       taking and carrying away the personal property of another
                       from his person or in his presence without his consent by
                       endangering or threatening a person’s life with a
                       dangerous weapon--in this case it’s a taser--the taker
                       knowing that she was not entitled to take the property and
                       intending to deprive another of its use permanently[,]

       and a similar statement in laying out the elements for feloniously conspiring to

       commit robbery with a dangerous weapon by noting it required finding “endangering

       or threatening a person’s life with a dangerous weapon, in this case a taser[.]”

¶ 13         But defendant fails to note that in the next paragraph after the first robbery

       with a dangerous weapon instruction the trial court stated it was for the jury “to

       consider whether a taser is a deadly weapon[.]” Further, read in context it is clear

       the trial judge was noting the alleged weapon in question for the jury to consider was

       identified in the evidence as a taser, not that the taser was a dangerous weapon. It

       was the jury’s duty to determine if there was a dangerous weapon used, and that

       consideration involved whether the taser was a dangerous weapon. This argument

       is overruled.
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                                 IV.    Serious Bodily Injury

¶ 14         Defendant next contends the trial court committed plain error in failing to

       sufficiently instruct the jury on “serious bodily injury.” Defendant admits this issue

       is unpreserved, and thus contends we review for plain error.

                            As this Court and the Supreme Court have
                    frequently stated, plain error consists of an error that is so
                    fundamental that it undermines the fairness of the trial, or
                    has a probable impact on the guilty verdict. In order to
                    obtain relief on plain error grounds, an appealing party
                    must show “(i) that a different result probably would have
                    been reached but for the error or (ii) that the error was so
                    fundamental as to result in a miscarriage of justice or a
                    denial of a fair trial.” Given that a prerequisite to our
                    engaging in a plain error analysis is the determination that
                    the trial court’s ruling constitutes error at all we will
                    initially determine if the trial court erred by denying
                    Defendant’s suppression motion and then ascertain
                    whether any error committed by the trial court rose to the
                    level of plain error.

       State v. Harwood, 221 N.C. App. 451, 456, 727 S.E.2d 891, 896 (2012) (citations,

       quotation marks, and brackets omitted).

¶ 15         Here, the trial court defined “dangerous weapon” as “a weapon which is likely

       to cause death or serious bodily injury[.]” “Serious bodily injury” is not an element of

       robbery with a dangerous weapon or conspiracy to commit robbery with a dangerous

       weapon. See generally Gwynn, 362 N.C. at 337, 661 S.E.2d at 707-08; see also Lyons,

       268 N.C. App. at ___, 836 S.E.2d at 921. Defendant argues that the “term ‘serious

       bodily injury’ has no commonly understood everyday meaning” but it does have “a
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       fairly well-settled legal meaning.” Defendant notes several statutes where this term

       is defined for purposes of the crime defined by that statute. But “serious bodily

       injury” is not an element of the offense charged in this case. Instead, “serious bodily

       injury” was part of the trial court’s instructions defining the required element of

       “dangerous weapon” to the jury. Defendant focuses on Mr. Jones’s actual injuries but

       fails to address defendant’s “likely”, possible, or threatened injuries. As we have

       already discussed above, the taser here could be considered a dangerous weapon

       based upon its use to incapacitate Mr. Jones while he was being beaten. The State

       was not required to show Mr. Jones actually sustained “serious bodily injury” to show

       the taser was used as a dangerous weapon; the State need only show that the taser

       was used in a manner which “is likely to cause death or serious bodily injury.” See

       generally Rivera, 216 N.C. App. at 568-70, 716 S.E.2d at 860-62. This argument is

       overruled.

                           V.    Ineffective Assistance of Counsel

¶ 16         Defendant next contends that she received ineffective assistance of counsel

       where her attorney conceded her guilt of common law robbery without her knowing

       and voluntary consent shown on the record. This assertion is simply not true, and

       we need not address this argument in detail. The record shows the trial court
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conducted a Harbison inquiry1 and directly asked defendant if she consented to her

counsel’s concession that she was guilty of common law robbery:



                    THE COURT:          All right.           You   heard   [your
              attorney’s] argument to the jurors?

                      DEFENDANT:            Yes, sir.

                    THE COURT:         And more or less, he argued that
              you were guilty of common law robbery and not the robbery
              with a dangerous weapon?

                      DEFENDANT:            Yes, sir.

                    THE COURT:         More or less conceding that you
              were guilty of something but not the most serious, right?
              Did you understand that?

                      DEFENDANT:             Yes.

                    THE COURT:              Okay. You and [your attorney]
              talked about that?

                      DEFENDANT:             Yes.

                    THE COURT:              He told you the good and the bad
              about doing that?

1 “A Harbison inquiry regards the principle enunciated in State v. Harbison, 315 N.C. 175,

337 S.E.2d 504 (1985), in which the N.C. Supreme Court held that a counsel’s admission of
his client’s guilt, without the client’s knowing consent and despite the client’s plea of not
guilty, constitutes ineffective assistance of counsel. Accordingly, because of the gravity of the
consequences of pleading guilty, an inquiry with defendant is conducted, which involves a
thorough questioning of the defendant by the trial court in order to ensure that his decision
to plead guilty is made knowingly and voluntarily after full appraisal of the consequences.”
State v. Givens, 246 N.C. App. 121, 126, 783 S.E.2d 42, 46 (2016) (quotation marks, ellipses,
and brackets omitted).
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                          DEFENDANT:          Yes, sir.

                         THE COURT:           He answered any questions you
                   had about that?

                          DEFENDANT:          Yes.

                          THE COURT:          Are you satisfied with his legal
                   services?

                          DEFENDANT:          Yes.

                          THE COURT:       And he did have your permission
                   to concede that you were guilty of the lesser included of
                   common law robbery when he made his argument to the
                   jurors?

                          DEFENDANT:          Yes.

                         THE COURT:           All right.       Have you got any
                   questions?

                          DEFENDANT:          No.

¶ 17         Although the colloquy occurred after defendant’s counsel’s argument,

       defendant has not raised any argument on appeal regarding the timing of the trial

       court’s inquiry and her answers indicate that her counsel had discussed the argument

       with her in advance of the argument. The transcript indicates defendant’s knowing

       acquiescence to her counsel’s concession of guilt to common law robbery based on the

       trial court’s colloquy. Defendant does not direct us to any case law supporting her

       argument that a defendant must completely understand every feasibly theoretical
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       possible outcome, and demonstrate that via the record, or else her attorney has per

       se provided ineffective assistance of counsel by admitting to a lesser-included offense.

       This argument is without merit.

                                        VI.    Contempt

¶ 18         Last, defendant contends the trial court erred in holding her in direct criminal

       contempt for refusing to put on the clothes provided for her because there was no

       finding of willfulness on her part nor did the trial court employ the required

       reasonable doubt standard.

                          In criminal contempt proceedings, our standard of
                    review is limited to determining
                                 whether there is competent evidence to
                          support the trial court’s findings of fact and
                          whether the findings support the conclusions
                          of law and ensuing judgment. Findings of fact
                          are binding on appeal if there is competent
                          evidence to support them, even if there is
                          evidence to the contrary. The trial court’s
                          conclusions of law drawn from the findings of
                          fact are reviewable de novo.

       State v. Salter, 264 N.C. App. 724, 732, 826 S.E.2d 803, 809 (2019) (citation omitted).

¶ 19         North Carolina General Statute § 5A-14(b) provides,

                    Before imposing measures under this section, the judicial
                    official must give the person charged with contempt
                    summary notice of the charges and a summary opportunity
                    to respond and must find facts supporting the summary
                    imposition of measures in response to contempt. The facts
                    must be established beyond a reasonable doubt.
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       N.C. Gen. Stat. § 5A-14 (2019) (emphasis added).

¶ 20         Here, the trial court’s contempt order does not mention the standard of proof

       of beyond a reasonable doubt. The State directs us to In re Owens, 128 N.C. App. 577,

       496 S.E.2d 592 (1998), aff’d per curiam, 350 N.C. 656, 517 S.E.2d 605 (1999), and

       contends when there is no factual determination for a trial court to make, it need not

       explicitly state that it used the standard of beyond a reasonable doubt. But more

       recently than 1998, our Court has taken a plain reading approach to North Carolina

       General Statute § 5A-14 and required a finding that the trial court did use the proper

       standard, reasonable doubt. See State v. Ford, 164 N.C. App. 566, 571, 596 S.E.2d

       846, 849-50 (2004) (reversing order for direct criminal contempt because “[t]he only

       indication that the proper standard of review was applied was that he asked to review

       the statute before making his findings and that at the beginning of his findings, the

       boilerplate language of the order states ‘after consideration of the applicable law.’ We

       do not believe this sufficient to meet the requirement of Verbal that the findings

       should indicate that that standard was applied.           Here, at best, the transcript

       indicates the judge may or may not have applied the proper standard, and there is no

       indication of the standard applied by the district court.” (emphasis in original)

       (citation, quotation marks, and brackets omitted)); see also In re Contempt

       Proceedings Against Cogdell, 183 N.C. App. 286, 290, 644 S.E.2d 261, 264 (2007)

       (reversing direct criminal contempt order because “the trial court’s order failed to
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       indicate that he applied the beyond a reasonable doubt standard to his findings as

       required by N.C.G.S. § 5A–14(b)”).      Here, the transcript does not include any

       indication of the standard used, and the contempt order does not mention the

       standard of beyond a reasonable doubt, so we reverse the contempt order and

       judgment.

                                    VII.     Conclusion

¶ 21         We conclude there was no error with the judgment and reverse the contempt

       order and judgment.

             NO ERROR IN PART; REVERSED IN PART.

             Judge COLLINS concurs.

             Judge MURPHY concurs as to Parts I through IV and concurs in result only

       without separate opinion as to Parts V and VI.
